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      2

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      5
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      6   NICANOR MANERA
      7

      8

      9
                                IN THE UNITED STATES DISTRICT COURT
     10
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
     11   UNITED STATES OF AMERICA,                  ) Case No. 1:06-cr-00171 OWW
                                                     )
     12   Plaintiff,                                 ) STIPULATION AND ORDER FOR
                                                     ) CONTINUANCE OF SENTENCING
     13
          vs.                                        )
                                                     )
          NICANOR MANERA                             )
     14                                              )
          Defendant.                                 )
     15

     16
                 It is hereby stipulated that the date for sentencing be continued from
     17
          September 22, 2008, 9:00 a.m., to November 10, 2008, 9:00 a.m. The parties agree
     18
          that the delay resulting from the continuance shall be excluded in the interests of justice,
     19
          including the need for time for effective assistance of counsel pursuant to 18 U.S.C. §§
     20
          3161(h)(8)(A) and 3161(h)(B)(iv).
     21

     22
          DATED: 9/17/08                      /s/Stephen Mensel
     23
                                              STEPHEN MENSEL
                                              Attorney for Defendant
     24

     25   DATED: 9/17/08                      McGREGOR W. SCOTT, United States Attorney
     26
                                              /s/ Laurel Montoya
                                              By LAUREL MONTOYA
     27
                                              Assistant United States Attorney
     28                                             ORDER
     29          It is so ordered.
          DATED: 9/18/2008                    /s/ OLIVER W. WANGER
                                              OLIVER W. WANGER
                                              United States District Judge

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